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 8
                             UNITED STATES BANKRUPTCY COURT
 9                                  DISTRICT OF NEVADA
10   In re:                                             CASE NO.:     BK-N-20-50471-BTB
11                                                      Chapter 11 Subchapter V
     ALY EATERY, INC,
12                                                      SUPPLEMENT TO DEBTOR’S
                                                        FINANCIAL STATEMENTS
13                                                      PURSUANT TO 11 U.S.C. §1187(a)
                       Debtors.
14
     ______________________________________/
15
              Debtor and Debtor in Possession, ALY EATERY, INC., hereby supplements the financial
16
     statements previously filed pursuant to 11 U.S.C. §1116(1)(A), as made applicable to this Chapter
17   11 Subchapter V case by 11 U.S.C. §1187(a), by attaching Debtor’s most recent cash-flow
18   statement.
19            DATED this 20th day of May, 2020.
20                                                DARBY LAW PRACTICE, LTD.

21                                                   /s/ Kevin A. Darby
                                                  ______________________________
22                                                KEVIN A. DARBY, ESQ.
                                                  Attorneys for Aly Eatery, Inc.
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 1                                    EXHIBIT 1
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                                      EXHIBIT 1
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